                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         1:21-cv-00906-LCB-LPA

 KA’LAH (KALAH) MARTIN,

                     Plaintiff,

 v.                                              ACCEPTANCE OF SERVICE
 GREGORY SEABOLT, et al.,

                  Defendants.


      Pursuant to Federal Rule Civil Procedure 4, Defendants Gregory Seabolt, Steven

W. Myers, Edward Slafky, Travis Short, Kyle Gabby, Travis Cox, Jeremiah Harrelson,

Eric Weaver, and Steve Shawver have authorized the undersigned to accept service of the

Summons and Complaint on their behalf.

      Dated: December 22, 2021

                                         WOMBLE BOND DICKINSON (US) LLP

                                         /s/Michael A. Ingersoll
                                         Michael A. Ingersoll (NCSB No. 52217)
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                                         Counsel for Defendants




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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 22, 2021, I filed the foregoing ACCEPTANCE

OF SERVICE using the CM/ECF system, which will send notification of the filing to all

counsel of record.



                                             /s/Michael A. Ingersoll




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